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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
MARYLAND BALTIMORE DIVISION

LIBERTARIAN PARTY OF
MARYLAND
Plaintiff
Vy.

MARYLAND STATE BOARD OF
ELECTIONS AND

LINDA LAMONE, ADMINISTRATOR,,
MARYLAND STATE BOARD OF Case No. 1:18CV02825-GLR

ELECTIONS

Defendants

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

Plaintiff, Libertarian Party of Maryland, through their undersigned counsel, with no
answer filed, pursuant to Rule 41(a)(1)(A)(i), enters a voluntary dismissal of the above

captioned case.

Respectfully Submitted,

APPROVED THIS om DAY OF olf
April Ademiluyi, Esq.

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seein The Law Office of April T. Ademiliuyi

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